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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


   MARTÍN JONATHAN BATALLA
   VIDAL, et al.,

                     Plaintiffs,

            v.                                  No. 16-cv-4756 (NGG) (JO)

   ELAINE C. DUKE, in her official capacity
   as Acting Secretary of Homeland Security,
   et al.,

                     Defendants.



   STATE OF NEW YORK, et al.,

                     Plaintiffs,

            v.                                  No. 17-cv-5228 (NGG) (JO)

   DONALD TRUMP, in his official capacity
   as President of the United States, et al.,

                     Defendants.


                         MEMORANDUM OF LAW IN SUPPORT OF
                          DEFENDANTS’ MOTION TO DISMISS
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                                           INTRODUCTION

          In 2012, then-Secretary of Homeland Security Janet Napolitano adopted the policy now

   known as DACA, or Deferred Action for Childhood Arrivals. DACA made deferred action—a

   practice by which the Secretary exercises individualized enforcement discretion to issue a

   reversible notification that she does not intend to remove an alien for a set period of time—

   available to a class of unlawfully present aliens who came to the United States as children. In

   2014, one of her successors expanded the parameters of DACA and adopted a similar policy known

   as DAPA, or Deferred Action for Parents of Americans. DAPA made deferred action available to

   a class of unlawfully present aliens who were parents of U.S. citizens and lawful permanent

   residents.

          DAPA, including its expansion of DACA, was promptly challenged by a coalition of 26

   states. Although the then-Secretary of Homeland Security vigorously defended the policy, he was

   rebuffed at every turn: the district court issued a nationwide preliminary injunction; the Fifth

   Circuit affirmed, declaring the policy “manifestly contrary” to the Immigration and Nationality

   Act; and an equally divided Supreme Court affirmed, leaving the injunction in place.

          Armed with this victory, the states threatened to amend their complaint to challenge not

   just DAPA, but DACA as well, arguing that it suffers from the same infirmities. In view of the

   substantial similarities between the two policies, the significant litigation risk posed by the

   Supreme Court and Fifth Circuit decisions, and the Attorney General’s opinion that DACA was in

   fact unlawful, the current Acting Secretary of Homeland Security was faced with two options. On

   the one hand, she could wind down DACA in an orderly fashion, minimizing the disruption to

   current recipients. On the other, continued litigation would in all likelihood result in a nationwide

   injunction abruptly ending the policy, plunging its nearly 800,000 recipients into uncertainty.


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          The Acting Secretary chose the less disruptive option: an orderly process that formally

   rescinds DACA but allows it to sunset. Under this Rescission Policy, no DACA recipient will

   have his deferred action abruptly terminated; instead, prior grants will remain valid for the

   remainder of their stated duration (generally two years) before ending consistent with their stated

   terms. Any DACA recipient whose deferred action was due to expire within six months was given

   a month to request renewal. And although the agency stopped accepting new DACA requests, it

   will finish processing those it had received when the rescission began.

          In this pair of related cases, Plaintiffs, a collection of states, an advocacy organization, and

   DACA recipients, challenge the Rescission Policy on a variety of statutory and constitutional

   grounds, urging the Court to invalidate the agency’s decision and enjoin the Acting Secretary from

   rescinding DACA. There is no basis to do so.

          To begin, this case is not justiciable. The Rescission Policy is a classic exercise of

   enforcement discretion “presumed immune from judicial review,” Heckler v. Chaney, 470 U.S.

   821, 831–32 (1985), and particularly unfettered in the context of immigration, see Reno v. Am.-

   Arab Anti-Discrimination Comm. (AADC), 525 U.S. 471, 487–92 (1999). In fact, Congress has

   stripped district courts of jurisdiction to review “‘no deferred action’ decisions and similar

   discretionary determinations” such as the one here. AADC, 525 U.S. at 485; see 8 U.S.C.

   § 1252(g). At a minimum, the State Plaintiffs cannot proceed due to their lack of standing and a

   cause of action. The Court should not permit Plaintiffs to circumvent these bedrock limits on

   judicial review.

          On the merits, Plaintiffs’ claims fail as a matter of law. Their claim that the Rescission

   Policy is arbitrary and capricious under the Administrative Procedure Act (APA) because it was

   inadequately supported on the record is fundamentally misguided. Agencies are always free to


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   change course on policy matters so long as they provide a rational explanation. Here, the Acting

   Secretary’s explanation of her decision to rescind DACA amply meets that deferential standard,

   particularly given the adverse ruling from the Fifth Circuit and the Supreme Court’s affirmance,

   the evident similarities between DACA and the policy that expanded DACA and created DAPA,

   the Attorney General’s opinion that DACA was likewise unlawful, and the imminent risk of a

   nationwide injunction with potentially chaotic results. Importantly, because this claim can be

   resolved now based on the complaint, the documents attached or incorporated by reference in the

   complaint, and other judicially noticeable materials (including those in the administrative record),

   the Court should either uphold the Rescission Policy and grant this motion if it agrees that the

   record supports Defendants’ position, or set aside the Rescission Policy if it disagrees.

          Plaintiffs’ notice-and-comment claim is equally unavailing. The APA exempts “general

   statements of policy” from notice and comment, 5 U.S.C. § 553(b), and the Rescission Policy is a

   reordering of enforcement priorities that readily qualifies. Indeed, the Department of Homeland

   Security (DHS) and the former Immigration and Naturalization Service (INS) have adopted more

   than 20 deferred action or similar policies over the past 50 years. Few have gone through notice

   and comment, and there is no warrant for those procedures here. Nor does the Fifth Circuit’s ruling

   that the promulgation of DAPA required notice and comment mean that the rescission of DACA

   and a return to the status quo ante must likewise meet these procedural demands. Plaintiffs’

   Regulatory Flexibility Act claim fails for the same reason, as that Act applies only where notice

   and comment is required. And in any event, if DACA’s rescission required notice and comment,

   then DACA was void from the outset because its enactment would also have required notice and

   comment a fortiori.

          Plaintiffs’ equal protection claim, which alleges the Rescission Policy was motivated by


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   discriminatory animus toward Mexican nationals, gets them no further. To the extent such a claim

   can ever be brought in a context like this one, but see AADC, 525 U.S. at 487–92, a rigorous factual

   showing (or at least plausible allegations) of discriminatory intent and effect would be necessary

   to proceed beyond the pleading stage. Plaintiffs have made no such showing of extraordinary

   circumstances here.

          Plaintiffs’ due process claims also cannot survive a motion to dismiss. DACA recipients

   have no protected liberty or property interest in the continued availability of deferred action, which

   is an exercise of prosecutorial discretion that confers no rights and is revocable at any time. That

   the Rescission Policy did not further limit the sharing of DACA-related information across DHS

   components for enforcement purposes—that is, beyond the limitations already in effect under the

   existing policy, which was unchanged by the rescission—does not run afoul of any substantive

   due process guarantee.

          In sum, even if Plaintiffs’ challenge were somehow justiciable, the assumption underlying

   it would compel dismissal. DAPA—including its expansion of DACA—was enjoined as unlawful

   by the Fifth Circuit, and that holding was affirmed by the Supreme Court. The original DACA

   policy is materially indistinguishable as a legal matter. At bottom, Plaintiffs’ argument is that,

   when making discretionary enforcement determinations, federal agencies must ignore the legal

   rulings and reasoning of federal courts. To state the premise of this claim is to refute it. The case

   should be dismissed.

                                            BACKGROUND

          A.      Deferred Action Generally

          The Secretary of Homeland Security is charged “with the administration and enforcement”

   of the Immigration and Nationality Act (INA) along with “all other laws relating to the


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   immigration and naturalization of aliens.” 8 U.S.C. § 1103(a)(1). Under these laws, individuals

   are subject to removal if, among other things, “they were inadmissible at the time of entry, have

   been convicted of certain crimes, or meet other criteria set by federal law.” Arizona v. United

   States, 567 U.S. 387, 396 (2012) (citation omitted); see 8 U.S.C. §§ 1182(a), 1227(a).

          Due to resource constraints, the federal government cannot remove every removable alien,

   which means that a “principal feature of the removal system is the broad discretion exercised by

   immigration officials.” Arizona, 567 U.S. at 396. DHS officials must first “decide whether it

   makes sense to pursue removal at all,” id., and once proceedings begin, they may decide to grant

   certain forms of discretionary relief expressly authorized by statute, such as asylum, parole, or

   cancellation of removal, 8 U.S.C. §§ 1158(b)(1)(A), 1182(d)(5)(A), 1229b. “At each stage” of the

   process, “the Executive has discretion to abandon the endeavor” entirely. AADC, 525 U.S. at 483.

          “One form of discretion the Secretary of Homeland Security exercises is ‘deferred action,’

   which entails temporarily postponing the removal of individuals unlawfully present in the United

   States.” Arpaio v. Obama, 797 F.3d 11, 16 (D.C. Cir. 2015). Deferred action is a practice by

   which the Secretary exercises her “discretion to abandon” the removal process, and to notify an

   individual alien of a non-binding decision to forbear from seeking his removal for a set period.

   AADC, 525 U.S. at 483; see 8 C.F.R. § 274a.12(c)(14) (describing “deferred action” as “an act of

   administrative convenience to the government which gives some cases lower priority”). Although

   originally “developed without express statutory authority,” individualized deferred action has been

   recognized by Congress in certain circumstances inapplicable here, see, e.g., 8 U.S.C.

   § 1154(a)(1)(D)(i)(II), (IV) (providing that certain individuals are “eligible for deferred action”),

   and described by the Supreme Court as an “exercise in administrative discretion,” AADC, 525 U.S.

   at 484. Deferred action (or a similar form of relief) dates back to the 1960s, Arpaio, 797 F.3d at


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   16, and DHS and the former INS have adopted over 20 such policies over the past 50 years—rarely

   through notice-and-comment rulemaking.

          A variety of consequences may flow from a decision to defer removal action, including the

   ability to apply for work authorization, under DHS regulations not challenged here. See, e.g., 8

   C.F.R. § 274a.12(c)(14). That decision does not, however, confer lawful immigration status or

   provide any defense to removal. Cf. Chaudhry v. Holder, 705 F.3d 289, 292 (7th Cir. 2013)

   (discussing difference between “unlawful presence” and “unlawful status”). To the contrary,

   deferred action is “discretionary and reversible, and ‘confers no substantive right, immigration

   status or pathway to citizenship.’” Arpaio, 797 F.3d at 17 (citation omitted). DHS thus generally

   has absolute discretion to revoke deferred action unilaterally, for any reason or no reason, with or

   without notice, and an individual with deferred action remains removable at any time. See AADC,

   525 U.S. at 484–85.

          B.      DAPA and DACA

          On June 15, 2012, then-Secretary Napolitano announced the policy now known as DACA,

   or Deferred Action for Childhood Arrivals. See Admin. R. (AR) 1–3, Batalla Vidal ECF No. 77-

   1 (DACA Memo). DACA made deferred action available to “certain young people who were

   brought to this country as children” in violation of the immigration laws. Id. at 1 (AR 1).

   Following completion of a background check, successful requestors would receive deferred action

   for a period of two years, subject to indefinite renewal. Id. at 2–3 (AR 2-3).

          The DACA Memo stated that deferred action was an “exercise of prosecutorial discretion,”

   id. at 1 (AR 1), and that requests for this relief would “be decided on a case by case basis,” id. at

   2 (AR 2). Accordingly, the Memo provided that this grant of deferred action “confer[red] no

   substantive right, immigration status or pathway to citizenship. Only the Congress, acting through


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   its legislative authority, can confer these rights.” Id. at 3 (AR 3).

          In public guidance published on its website, DHS also informed DACA requestors that

   information in their requests will be “protected from disclosure to ICE and CBP for the purpose

   of immigration proceedings unless the requestor meets the criteria for the issuance of a Notice to

   Appear or a referral to ICE under the criteria set forth in USCIS’ Notice to Appear guidance” (for

   example, when issues of national security, public safety, or significant criminal activity are raised).

   DHS DACA FAQ No. 19 (emphasis added), https://go.usa.gov/xngCd (quoted in part at New York

   Compl. ¶ 89, ECF No. 54); see USCIS, Policy Memorandum (Nov. 7, 2011) (Notice to Appear

   Guidance), available at https://go.usa.gov/xncPK.            DHS instructed, however, that this

   information-sharing policy creates no rights and “may be modified, superseded, or rescinded at

   any time.” DHS DACA FAQ No. 19.

          In 2014, then-Secretary Jeh Johnson expanded DACA and created a new, similar policy

   known as Deferred Action for Parents of Americans and Lawful Permanent Residents, or DAPA.

   See AR 37–41 (DAPA Memo). DAPA made deferred action available to certain unlawfully

   present aliens who were “parents of U.S. citizens or lawful permanent residents.” DAPA Memo

   at 3 (AR 39). The DAPA Memo also expanded DACA by relaxing the eligibility criteria and

   extending the DACA renewal period from 2 to 3 years. Id. at 3–4 (AR 39-40).

          C.      The Texas Litigation

          The DAPA Memo—including its expansion of DACA—was challenged by a coalition of

   26 states, led by Texas, which sought to enjoin its implementation. Affirming the district court,

   the Fifth Circuit upheld a nationwide preliminary injunction against implementation of the DAPA

   Memo. Texas v. United States, 809 F.3d 134 (5th Cir. 2015). Like the U.S. District Court for the

   Southern District of Texas, the Fifth Circuit held that the promulgation of the DAPA Memo was


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   justiciable, in part because it believed that “the INA’s intricate regulatory scheme for changing

   immigration classifications” allowed the court to determine whether DHS had exceeded its

   statutory authority. Id. at 168. It stressed, however, that “the denial of voluntary departure and

   work authorization” would be unreviewable. Id. Also like the district court, the Fifth Circuit held

   that the DAPA Memo failed to comply with the APA’s notice-and-comment requirement, but

   emphasized that “DAPA is much more than a nonenforcement policy,” and that “a traditional

   nonenforcement policy would not necessarily be subject to notice and comment.” Id. at 178 n.156.

   And going beyond the district court, the Fifth Circuit held that DAPA was “manifestly contrary”

   to the INA, in part because, unlike prior deferred-action policies that served as “bridges from one

   legal status to another,” DAPA awarded deferred action “to persons who have never had a legal

   status and may never receive one.” Id. at 184, 186 (footnotes omitted).

            That decision was affirmed by an equally divided Supreme Court, United States v. Texas,

   136 S. Ct. 2271 (2016) (per curiam), which later denied the government’s request for a rehearing

   upon confirmation of a ninth Justice, 137 S. Ct. 285 (2016), leaving the preliminary injunction in

   place.   On November 18, 2016, the parties jointly moved the district court to stay merits

   proceedings to allow them to evaluate “how they might choose to move forward” given the

   upcoming “change in Administration[s].” Joint Mot. to Stay Merits ¶ 2, Texas v. United States,

   No. 14-254 (S.D. Tex. Nov. 18, 2016) (ECF No. 430).

            Faced with continued litigation over a policy that had been ruled unlawful and enjoined by

   the courts, DHS rescinded the DAPA Memo on June 15, 2017, including its provisions expanding

   DACA. See Memorandum for Kevin McAleenan, Acting Commissioner, U.S. Customs and

   Border Protection, et al., from John F. Kelly, Secretary of Homeland Security, Re: Rescission of

   November 20, 2014 Memorandum Providing for Deferred Action for Parents of Americans and


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   Lawful Permanent Residents (June 15, 2017), AR 235-37. Plaintiffs do not challenge that decision

   here.

           On June 29, 2017, Texas and several other states threatened to amend their complaint to

   also challenge directly the DACA Memo, arguing that it suffers from the same legal infirmities as

   the DAPA Memo. See AR 238–40 (Paxton Letter).

           D.     Rescission of DACA

           Faced again with the prospect of continued litigation, Acting Secretary Duke decided on

   September 5, 2017, to wind down the DACA policy in an orderly fashion. See AR 252–56

   (Rescission Policy or Policy). As the Acting Secretary explained, “[t]aking into consideration the

   Supreme Court’s and Fifth Circuit’s ruling in the ongoing litigation, and the September 4, 2017

   letter from the Attorney General, it is clear that the June 15, 2012 DACA program should be

   terminated.” Rescission Policy at 4 (AR 255). Specifically, she quoted the Attorney General’s

   September 4 recommendation to rescind DACA, which explained that because DACA “has the

   same legal and constitutional defects that the courts recognized as to DAPA, it is likely that

   potentially imminent litigation would yield similar results.” Id. at 4 (AR 254). Invoking her

   “authority in establishing national immigration policies and priorities,” she rescinded the DACA

   Memo, id. (AR 255), and instructed that deferred action should instead be provided “only on an

   individualized, case-by-case basis,” id. at 2 (AR 253).

           At the same time, to facilitate an orderly transition, the Rescission Policy provides that:

   •   For current DACA recipients, DHS “[w]ill not terminate the grants of previously issued
       deferred action or revoke Employment Authorization Documents solely based on the directives
       in this memorandum for the remaining duration of their validity periods.” Id. at 5 (AR 255)




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   •   For initial DACA requests, DHS “[w]ill adjudicate—on an individual, case-by-case basis—
       properly filed pending DACA initial requests and associated applications for Employment
       Authorization Documents that have been accepted by [DHS] as of” September 5, 2017, but
       “[w]ill reject all DACA initial requests and associated applications for Employment
       Authorization Documents filed after” that date. Id.

   •   For DACA renewal requests, DHS “[w]ill adjudicate—on an individual, case by case basis—
       properly filed pending DACA renewal requests and associated applications for Employment
       Authorization Documents from current beneficiaries that have been accepted by [DHS] as of”
       September 5, 2017. Further, DHS will similarly adjudicate such requests and applications
       “from current beneficiaries whose [deferred action under DACA] will expire between
       [September 5, 2017,] and March 5, 2018, that have been accepted by the Department as of
       October 5, 2017.” Id.

   Like the DACA and DAPA Memos, the Rescission Policy notes that it “is not intended to, does

   not, and may not be relied upon to create any right or benefit, substantive or procedural,

   enforceable at law by any party in any administrative, civil, or criminal matter.” Id. at 5 (AR 256).

   Accordingly, DHS will “continue to exercise its discretionary authority to terminate or deny

   deferred action at any time.” Id. at 4 (AR 255). The Rescission Policy says nothing about (and

   makes no changes to) DHS’s information-sharing policy.

          E.      These Actions

          Together, Plaintiffs in this pair of related cases raise six claims. First, they allege that the

   Rescission Policy violates the APA because it constitutes a change in agency policy without an

   adequate explanation. Batalla Vidal Compl. ¶¶ 149–54 (Count 2), ECF No. 60; New York Compl.

   ¶¶ 253–56 (Count 4). Second, they argue that the policy violates the APA because it was issued

   without notice and comment. Batalla Vidal Compl. ¶¶ 144–48 (Count 1); New York Compl.

   ¶¶ 257-65 (Count 5). Third, they contend that the policy violates equal protection because it was

   allegedly motivated by discriminatory animus toward Mexicans or Latinos. Batalla Vidal Compl.

   ¶¶ 167–70 (Count 5); New York Compl. ¶¶ 233–39 (Count 1). Fourth, they claim that the policy

   violates procedural due process because DACA recipients were not sent “individualized written


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   notices” advising them of the October 5, 2017, renewal deadline. Batalla Vidal Compl. ¶ 164; see

   id. ¶¶ 160–66 (Count 4). Fifth, they suggest that the Rescission Policy violates substantive due

   process because the government’s “refusal to prohibit” the use of information in DACA

   applications for enforcement purposes is “fundamentally unfair.” New York Compl. ¶ 243; see id.

   ¶¶ 240–45 (Count 2). Sixth, they submit that policy violates the Regulatory Flexibility Act because

   it was unaccompanied by a regulatory flexibility analysis assessing its impact on small businesses.

   Batalla Vidal Compl. ¶¶ 155–59 (Count 3); New York Compl. ¶¶ 266–73 (Count 6). Plaintiffs ask

   the Court to declare the Rescission Policy unlawful and to “[e]njoin Defendants from terminating

   the DACA” policy. New York Compl. ¶ 281(e); see id. ¶ 281(a)–(h); Batalla Vidal Compl.

   ¶ 171(a)–(e).

                                         LEGAL STANDARDS

          To survive a motion to dismiss under Rule 12(b)(1), a plaintiff must establish the court’s

   jurisdiction through sufficient allegations. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

   In deciding a Rule 12(b)(1) motion, the district court may refer to evidence outside the pleadings,

   such as documents or affidavits, without converting the motion to one for summary judgment. All.

   for Envtl. Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 88 n.8 (2d Cir. 2006).

          To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s complaint must contain

   “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

   550 U.S. 544, 570 (2007). This “plausibility” standard “asks for more than a sheer possibility that

   a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Although the

   Court generally may not rely on material outside the pleadings under Rule 12(b)(6), “when faced

   with a motion to dismiss in the APA context, a court may consider the administrative record and

   public documents without converting the motion into a motion for summary judgment,” Bates v.


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   Donley, 935 F. Supp. 2d 14, 17 (D.D.C. 2013) (citing Rempfer v. Sharfstein, 583 F.3d 860, 865

   (D.C. Cir. 2009)). 1

                                                   ARGUMENT

           In seeking to invalidate the Rescission Policy, Plaintiffs ask the Court to override the

   Acting Secretary’s judgment about how to exercise her discretion in enforcing the Nation’s

   immigration laws. The Court need not consider this extraordinary request, however, because this

   case is not justiciable. The exercise of enforcement discretion in the Rescission Policy is

   committed to agency discretion by law and thus unreviewable. In fact, Congress has gone so far

   as to strip district courts of jurisdiction over “no deferred action” decisions such as the one here.

   At a minimum, the State Plaintiffs lack standing and a cause of action. And in all events, Plaintiffs

   fail to state a claim. This case should be dismissed.

   I.      THIS CASE IS NOT JUSTICIABLE

           A.       The Rescission Policy Is Not Justiciable Because this Immigration
                    Enforcement Policy Is a Matter Committed to Agency Discretion by Law

           1. The APA bars judicial review of certain categories of decisions that “courts traditionally

   have regarded as ‘committed to agency discretion.’” Lincoln v. Vigil, 508 U.S. 182, 192 (1993)

   (quoting 5 U.S.C. § 701(a)(2)). These decisions are typically unreviewable because there exists

   “no meaningful standard against which to judge the agency’s exercise of discretion” in these areas.

   Chaney, 470 U.S. at 830; see also Lunney v. United States, 319 F.3d 550, 558 (2d Cir. 2003)

   (§ 701(a)(2)’s “limitation on the APA’s waiver of immunity means that there is no jurisdiction if

   the statute or regulation said to govern the challenged agency action ‘is drawn so that a court would



   1
     Indeed, as the administrative-record documents cited by Defendants are incorporated by reference into Plaintiffs’
   complaints or otherwise publicly available and judicially noticeable, they are properly considered on a motion to
   dismiss. United States ex rel Coyne v. Amgen, Inc., 229 F. Supp. 3d 159, 162 (E.D.N.Y. 2017). In the alternative,
   however, the Court may if it wishes convert this motion to one for summary judgment. See Bates, 935 F. Supp. 2d at
   17, 19.
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   have no meaningful standard against which to judge the agency’s exercise of discretion’”). This

   bar applies, moreover, even when “the agency gives a ‘reviewable’ reason for otherwise

   unreviewable action.” ICC v. Bhd. of Locomotive Eng’rs (BLE), 482 U.S. 270, 283 (1987).

          Among the decisions committed to executive discretion are “an agency’s exercise of

   enforcement power.” Chaney, 470 U.S. at 831. Such judgments involve “a complicated balancing

   of factors which are peculiarly within [an agency’s] expertise,” including “whether agency

   resources are best spent on this violation or another, whether the agency is likely to succeed if it

   acts, whether the particular enforcement action requested best fits the agency’s overall priorities,

   and, indeed, whether the agency has enough resources to undertake the action at all.” Id. As there

   is “no meaningful standard against which to judge the agency’s exercise of discretion” in weighing

   these factors, an agency’s exercise of enforcement powers is “presumed immune from judicial

   review under § 701(a)(2).” Id. at 830, 832.

          For instance, an “agency decision not to prosecute or enforce, whether through civil or

   criminal process, is a decision generally committed to an agency’s absolute discretion.” Id. at 831.

   After all, “[a]n agency generally cannot act against each technical violation of the statute it is

   charged with enforcing,” and it “is far better equipped than the courts to deal with the many

   variables involved in the proper ordering of its priorities.” Id. at 831–32.

          An agency’s decision to enforce the law against a particular individual is likewise

   presumptively unreviewable. Just as “the decision whether or not to prosecute” presumptively

   “rests entirely in [the prosecutor’s] discretion,” United States v. Armstrong, 517 U.S. 456, 464

   (1996) (citation omitted), an agency’s decision to bring a civil enforcement action is generally not

   open to judicial scrutiny. Considerations such as “whether agency resources are best spent on this

   violation or another, whether the agency is likely to succeed if it acts, [and] whether the particular


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   enforcement action requested best fits the agency’s overall priorities” are equally present in

   enforcement decisions as in nonenforcement decisions, Chaney, 470 U.S. at 831, and judicial

   intrusion into the deliberative process is equally improper, see Citizens to Pres. Overton Park, Inc.

   v. Volpe, 401 U.S. 402, 420 (1971) (“there must be a strong showing of bad faith or improper

   behavior before” courts can engage in an “inquiry into the mental processes of administrative

   decisionmakers”).

          This presumption of nonreviewability applies with particular force when it comes to

   immigration.    On top of the general concerns implicated in any enforcement decision, the

   enforcement of immigration laws “embraces immediate human concerns,” and the “dynamic

   nature of relations with other countries requires the Executive Branch to ensure that [immigration]

   enforcement policies are consistent with this Nation’s foreign policy.” Arizona, 567 U.S. at 396–

   97. Given these realities, the “broad discretion exercised by immigration officials” has become a

   “principal feature of the removal system.” Id. at 396. One form of that broad discretion is deferred

   action, a “discretionary and reversible” decision to notify an alien that DHS has chosen not to seek

   his removal for a specific period of time. Arpaio, 797 F.3d at 17; see supra at 4–6. Like other

   agency nonenforcement decisions, grants of deferred action rest on a complex balancing of policy

   considerations that cannot serve as “meaningful standard against which to judge the agency’s

   exercise of discretion.” Chaney, 470 U.S. at 831. Such determinations are thus presumptively

   unreviewable. See Arpaio, 797 F.3d at 16.

          The converse is equally true: denials of deferred action are also committed to agency

   discretion. See AADC, 525 U.S. at 485 (treating “‘no deferred action’ decisions” as “discretionary

   determinations”). Because “[g]ranting an illegally present alien permission to remain and work in

   this country” is fundamentally “a dispensation of mercy,” there are “no standards by which judges


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   may patrol its exercise.” Perales v. Casillas, 903 F.2d 1043, 1051 (5th Cir. 1990) (INS’s decision

   not to grant pre-hearing voluntary departures and work authorizations to a group of aliens non-

   justiciable). To be sure, a decision “not to grant deferred action status to a particular alien is not

   precisely a ‘decision not to take enforcement action,’” but that does not obscure the fact that “many

   of the same factors” underlying the latter determinations usually play a role in the former. Mada-

   Luna v. Fitzpatrick, 813 F.2d 1006, 1011 n.4 (9th Cir. 1987) (“denials of deferred action status

   applications are not subject to judicial review” under § 701(a)(2)).

          2. As an exercise of enforcement discretion, the Rescission Policy is a classic example of

   a discretionary determination that is entrusted to the agency alone. Indeed, any attempt to judge

   the Policy would quickly entangle this Court in the sort of complex and discretionary balancing

   that has been entrusted by Congress to the Executive Branch. For example, the judiciary is

   institutionally ill-equipped to assess whether the Acting Secretary’s decision to change

   “immigration policies and priorities” by rescinding DACA, Rescission Policy at 5 (AR 255), was

   an appropriate use of “the Department’s limited resources,” Arpaio, 797 F.3d at 16. Nor is this

   Court well suited to second-guess the Acting Secretary’s balancing of the costs and benefits of

   keeping the policy in place, on one hand, with the risk of “‘potentially imminent litigation’” that

   could throw DACA into immediate turmoil, on the other. Rescission Policy at 4 (AR 254).

          To be sure, the Acting Secretary also gave substantive legal reasons for her decision,

   Rescission Policy at 2–5 (AR 253-55), but that does not render it justiciable. That is because the

   Supreme Court has rejected the proposition that if an “agency gives a ‘reviewable’ reason for

   otherwise unreviewable action, the action becomes reviewable.” BLE, 482 U.S. at 283. For

   example, “a common reason for failure to prosecute an alleged criminal violation is the

   prosecutor’s belief (sometimes publicly stated) that the law will not sustain a conviction,” which,


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   much like the question of the underlying legality of DACA, “is surely an eminently ‘reviewable’

   proposition, in the sense that courts are well qualified to consider the point.” Id. But that does not

   change the fact that “it is entirely clear that the refusal to prosecute cannot be the subject of judicial

   review.” Id. Likewise, the Acting Secretary’s discussion of the question of DACA’s legality does

   not transform her generally unreviewable exercise of enforcement discretion into a matter fit for

   judicial scrutiny.

           Indeed, reviewing the Rescission Policy would be particularly inappropriate given the wide

   discretion the Secretary enjoys in the enforcement of the immigration laws. In AADC, the Supreme

   Court held that “an alien unlawfully in this country has no constitutional right to assert selective

   enforcement as a defense against his deportation,” id. at 488, subject to the “possib[le]” exception

   “of a rare case in which the alleged basis of discrimination is so outrageous that the foregoing

   considerations can be overcome,” id. at 491. The reason for this highly restrictive rule is that the

   concerns raised by selective-enforcement and discriminatory motive claims “are greatly magnified

   in the deportation context.” Id. at 490. An alien subject to removal is, by definition, in continuing

   violation of the INA, and judicial interference with the Executive’s enforcement therefore would

   compel the Executive to disregard such ongoing violations.               The “delay” associated with

   challenges to discretionary decisions not to forgo enforcement is more likely than in the criminal

   arena, as “[p]ostponing justifiable deportation (in the hope that the alien’s status will change … or

   simply with the object of extending the alien’s unlawful stay) is often the principal object of

   resistance to a deportation proceeding,” and “the consequence is to permit and prolong a

   continuing violation” of the immigration laws. Id. at 490. For another, reviewing immigration

   decisions may involve “not merely the disclosure of normal domestic law enforcement priorities

   and techniques, but often the disclosure of foreign-policy objectives” or other sensitive matters as


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   well. Id. at 490–91. Finally, the idea that “an ongoing violation of United States law must be

   allowed to continue because it has been improperly selected is not powerfully appealing.” Id. at

   491 (emphasis omitted).

           B.       The INA Deprives District Courts of Jurisdiction over Challenges to Denials
                    of Deferred Action

           Not only is the denial of deferred action committed to agency discretion under the APA,

   but the INA itself deprives federal district courts of jurisdiction over challenges to such denials

   altogether.    As the Supreme Court explained in AADC, the Executive’s “exercise of [its]

   discretion” in granting deferred action in some circumstances had “opened the door to litigation

   where” the Executive had “chose[n] not to exercise it.” 525 U.S. at 484. Specifically, some courts

   had entertained challenges to “‘the refusal to exercise such discretion’” on various bases such as

   “‘selective prosecution,’” the use of “‘arbitrary or unconstitutional criteria, or other grounds

   constituting abuse of discretion.’” Id. at 485 (citation omitted). To address what the Supreme

   Court referred to as this “particular evil”—i.e., “attempts to impose judicial constraints upon

   prosecutorial discretion”—Congress enacted 8 U.S.C. § 1252(g). Id. at 485 & n.9.

           Section 1252(g) commands that, outside of petitions for review from final removal orders

   and certain other limited channels for review, “no court shall have jurisdiction to hear any cause

   or claim by or on behalf of any alien arising from the decision or action by the [Secretary of

   Homeland Security 2] to commence proceedings, adjudicate cases, or execute removal orders

   against any alien under this chapter.” These were “the acts … that had prompted challenges to the

   … exercise of prosecutorial discretion” in denying deferred action, and thus § 1252(g) “seems

   clearly designed to give some measure of protection to ‘no deferred action’ decisions and similar



   2
    See 6 U.S.C. § 557; see also id. §§ 202, 251; Elgharib v. Napolitano, 600 F.3d 597, 607 (6th Cir. 2010) (“[U]nder 6
   U.S.C. § 557, . . . the statutory reference to the ‘Attorney General’ in § 1252(g) now means ‘Secretary of DHS.’”).
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   discretionary determinations, providing that if they are reviewable at all, they at least will not be

   made the bases for separate rounds of judicial intervention outside the streamlined process that

   Congress has designed”—namely, an individual removal proceeding. AADC, 525 U.S. at 485.

          Denials of deferred action—including under DACA itself—thus fall outside the

   jurisdiction of the federal courts. See, e.g., Vasquez v. Aviles, 639 F. App’x 898, 901 (3d Cir.

   2016) (“[Section] 1252(g) … deprives all courts of jurisdiction to review a denial of DACA relief

   because that decision involves the exercise of prosecutorial discretion not to grant a deferred

   action.”); Botezatu v. INS, 195 F.3d 311, 314 (7th Cir. 1999) (“Review of refusal to grant deferred

   action is … excluded from the jurisdiction of the district court.”).

          To be sure, Plaintiffs brought this challenge to the Rescission Policy before any removal

   proceedings took place, but that is beside the point. The denial of continued deferred action is a

   necessary step in commencing enforcement proceedings at some future date, and a person cannot

   circumvent the bar in 8 U.S.C. § 1252(g) by singling out that single step for a preemptive

   challenge. Indeed, if aliens (or entities suing on their behalf) could evade § 1252(g)’s bar simply

   by challenging the forthcoming expiration of deferred action before actual removal proceedings

   (if any) began, then jurisdiction would turn on a race to the courthouse. Such a framework would

   create the perverse incentive for DHS to begin removal proceedings immediately rather than to

   allow, as it did here, for rolling expirations of deferred action status over a two-and-a-half year

   period. There is no indication that Congress sought to enact such a nonsensical regime. Instead,

   § 1252(g) precludes review of either “the decision or action” by the Acting Secretary “to

   commence proceedings,” and thereby sweeps in the Rescission Policy.

          Moreover, at least one court has applied § 1252(g) to actions that are “not … on the list of

   precluded items”—i.e., “decisions to commence proceedings, adjudicate cases, or execute removal


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   orders”—in order to effectuate the object of this jurisdictional bar. Botezatu, 195 F.3d at 313–14.

   In Botezatu, the Seventh Circuit rejected an alien’s argument that a court could review the

   Executive’s “refusal to … grant him humanitarian parole or deferred action” simply because that

   denial occurred in “post-deportation proceedings.” Id. at 313–14. As the Seventh Circuit

   explained, because AADC broadly held that “‘no deferred action decisions and similar

   discretionary determinations’ [were] governed by § 1252(g),” that jurisdictional bar should apply

   regardless of when such determinations occurred. Id. at 314 (quoting AADC, 525 U.S. at 485).

   Thus, just as an alien (or entity suing on his behalf) cannot circumvent § 1252(g) by bringing a

   challenge to a denial of deferred action on the back-end, Plaintiffs’ broad front-end assault on the

   Rescission Policy is beyond the jurisdiction of this Court. At the very least, 8 U.S.C. § 1252(g)

   reinforces the conclusion that enforcement discretion under the INA is at the core of unreviewable

   matters committed to agency discretion by law under the APA. 5 U.S.C. § 701(a)(2).

            C.       The State Plaintiffs’ And Advocacy Organizations’ Claims Are Not
                     Cognizable

                     1.       The State Plaintiffs Lack Article III Standing

            At a minimum, the Court should dismiss the States’ action for lack of standing. 3 To

   establish Article III standing, the States must at least show that they have suffered an “injury in

   fact” that is “fairly traceable” to Defendants’ challenged conduct and that will likely be “redressed

   by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (brackets,

   internal quotation marks, and citations omitted). They cannot do so. The Rescission Policy does

   not regulate them, require them to do (or refrain from doing) anything, or restrict them in any way.

   Instead, Plaintiffs complain of injury “from the government’s allegedly unlawful regulation (or



   3
    Because only the States assert a substantive due process claim, the Court must address their standing, even if other
   Plaintiffs may have standing to bring other claims.
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   lack of regulation) of someone else,” making standing “substantially more difficult to establish.”

   Id. at 562. That burden becomes insurmountable when a plaintiff claims to be injured by the

   incidental effects of federal enforcement policies, as it is settled that “a private citizen lacks a

   judicially cognizable interest in the prosecution or nonprosecution of another.” Linda R.S. v.

   Richard D., 410 U.S. 614, 619 (1973).

            These principles apply with particular force where, as here, a State is relying on the

   incidental effects of federal immigration policies—i.e., alleged harms to their residents,

   employees, tax bases, health expenditures, and educational experiences at their universities. See

   New York Compl. ¶¶ 2, 5, 9–201. It would be extraordinary to find Article III standing based on

   such assertions by a State, as virtually any administration of federal law by a federal agency could

   have such effects. The unavoidable reality that any enforcement of immigration laws will

   inevitably have some unintended or derivative effects on a State or its residents does not give it

   carte blanche to challenge such enforcement decisions whenever it happens to disagree with

   federal immigration policy. 4

                      2.        The States And Advocacy Organizations Lack a Cause of Action Under
                                the APA

            Even if the States could establish Article III standing, they (and the advocacy

   organizations) would lack a cause of action under the APA. The APA does not “allow suit by

   every person suffering an injury in fact.” Clarke v. Secs. Indus. Ass’n, 479 U.S. 388, 395 (1987).

   Rather, it provides a cause of action only to a plaintiff “adversely affected or aggrieved by agency

   action within the meaning of a relevant statute.” 5 U.S.C. § 702. To be “aggrieved” in this sense,


   4
     Plaintiffs cannot overcome their failure to establish standing in their own right by invoking the asserted rights of
   their citizens or residents as parens patriae. See id. ¶ 8. “A State does not have standing as parens patriae to bring an
   action against the Federal Government,” Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610
   n.16 (1982) (citation omitted), as “it is no part of [a state’s] duty or power to enforce [its citizens’] rights in respect of
   their relations with the federal government,” Massachusetts v. Mellon, 262 U.S. 447, 485–86 (1923).
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   “the interest sought to be protected by the complainant [must] be arguably within the zone of

   interests to be protected or regulated by the statute … in question.” Clarke, 479 U.S. at 395

   (brackets and citation omitted). Here, no provision of the INA even arguably protects the States

   and advocacy organizations from bearing any incidental effects of a denial of deferred action. Cf.

   Fed’n for Am. Immigration Reform, Inc. v. Reno, 93 F.3d 897, 899 (D.C. Cir. 1996) (dismissing

   under zone-of-interests a suit challenging parole of aliens into this country, where plaintiffs relied

   on incidental effects of that policy on workers).

                  D.      The Government’s Justiciability Objections Are Not Inconsistent with
                          the Acting Secretary’s Reliance on the Fifth Circuit’s Decision

          Although the Fifth Circuit in Texas included holdings that a challenge to the DAPA Memo

   was reviewable, 809 F.3d at 165–70, neither that decision nor Acting Secretary Duke’s reliance

   on it forecloses the government from arguing here that the DACA Rescission Policy is

   unreviewable. First, neither the Acting Secretary’s memo nor the Attorney General’s letter

   expressly relied upon or gave any indication that they agreed with the Fifth Circuit’s justiciability

   rulings, and it was far from arbitrary and capricious for the Acting Secretary to weigh litigation

   risk based on judicial decisions without regard to whether those courts had been correct to assert

   jurisdiction in the first place. Second, officers of the Executive Branch have an independent duty

   to consider the legality of their policies regardless of whether they are judicially reviewable; all

   swear an oath to uphold the United States Constitution. See Mississippi v. Johnson, 71 U.S. (4

   Wall.) 475, 499 (1867) (Take Care Clause imposes a generally nonjusticiable duty on the

   Executive Branch). Finally, even if courts could have reviewed the adoption of DACA as “an

   abdication of [DHS’s] statutory responsibilities,” Chaney, 470 U.S. at 833 n.4, that would not

   make the Rescission Policy, a classic exercise of agency enforcement discretion, open to challenge.

   After all, the Fifth Circuit itself emphasized that “DAPA is much more than a nonenforcement

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   policy, which presumptively would be committed to agency discretion,” Texas, 809 F.3d at 178

   n.156, and pointed out that a “denial of voluntary departure and work authorization” by DHS

   would have been nonjusticiable, id. at 168. Denials of deferred action under a return to a more

   traditional enforcement policy should be treated no differently. 5

   II.      PLAINTIFFS FAIL TO STATE A CLAIM

            Even if Plaintiffs’ claims were justiciable, the Court should dismiss this case in its entirety

   for failure to state a claim.

            A.       The Acting Secretary Rationally Explained Her Decision To Wind Down
                     DACA, Particularly Given the Imminent Risk of A Nationwide Injunction

            Plaintiffs contend that the Rescission Policy is arbitrary and capricious because it

   constitutes a change in agency policy without an adequate explanation. Batalla Vidal Compl.

   ¶¶ 149–54 (Count 2); New York Compl. ¶¶ 253–56 (Count 4). That argument misunderstands the

   nature of the inquiry under the APA. It is black-letter law that agencies are free to change course

   on policy matters so long as they provide a rational explanation. Here, the Acting Secretary’s

   explanation of her decision to rescind DACA readily meets this deferential standard, particularly

   in view of the imminent risk of a nationwide injunction, which could have prompted an

   immediate—and chaotic—end to the policy.

            1. Under the APA, an agency’s decision must be upheld unless arbitrary, capricious, an

   abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. § 706(2)(A); see also id.

   § 706(2)(B). The agency’s decision is presumed valid under this standard, and the Court asks only

   whether it “was based on a consideration of the relevant factors and whether there has been a clear



   5
     Similarly, the fact that the Fifth Circuit held that Texas had standing because it specifically demonstrated that “it
   would incur significant costs in issuing driver’s licenses to DAPA beneficiaries,” has no bearing on the States’
   standing in this case. Texas, 809 F.3d at 155. The States here have failed to point to analogous injury similarly
   traceable to the Rescission Policy.

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   error of judgment.” Overton Park, 401 U.S. at 416. A decision may be held arbitrary and

   capricious only when the agency “has relied on factors which Congress has not intended it to

   consider, entirely failed to consider an important aspect of the problem, [or] offered an explanation

   for its decision that runs counter to the evidence before the agency,” or the decision “is so

   implausible that it could not be ascribed to a difference in view or the product of agency expertise.”

   Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43 (1983). The Court may not “substitute

   its judgment for that of the agency.” Id. And when an agency changes policies, it “need not

   demonstrate to a court’s satisfaction that the reasons for the new policy are better than the reasons

   for the old one.” FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515 (2009). Rather, “it suffices that

   the new policy is permissible under the statute, that there are good reasons for it, and that the

   agency believes it to be better, which the conscious change of course adequately indicates.” Id.

          In assessing whether a decision was arbitrary and capricious, “the task of the reviewing

   court is to apply the appropriate APA standard of review to the agency decision based on the record

   the agency presents to the reviewing court.” Id.; see also Estate of Landers v. Leavitt, 545 F.3d 98,

   113 (2d Cir. Jan. 15, 2009) (as revised) (holding that interrogatories could not be considered

   because the court “must uphold or set aside the agency’s action on the grounds that the agency has

   articulated”). If the agency’s action “is not sustainable on the administrative record made,” then

   the administrative “decision must be vacated and the matter remanded to [the agency] for further

   consideration.” Camp v. Pitts, 411 U.S.138, 143 (1973). This Court should therefore decide

   whether the Acting Secretary’s decision to wind down DACA was arbitrary and capricious on the

   administrative record she has produced.        This Court cannot consider additional materials

   concerning her deliberative process. It is “not the function of the court to probe the mental

   processes” of the agency. United States v. Morgan, 304 U.S. 1, 18 (1938). “Just as a judge cannot


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   be subjected to such a scrutiny . . . so the integrity of the administrative process must be equally

   respected.” United States v. Morgan, 313 U.S. 409, 422 (1941). Deliberative materials are

   therefore not merely protected from disclosure—they do not form part of the administrative record

   at all. See San Luis Obispo Mothers for Peace, 789 F.2d 26 (D.C. Cir. 1986) (en banc). Thus,

   while the government submits that the Acting Secretary’s decision was plainly not arbitrary and

   capricious under the record already before this Court, if this Court were to disagree, it should no

   more than simply grant Plaintiffs the relief they seek by setting aside the Rescission Policy and

   remanding to her.

          2. The Rescission Policy amply meets the “minimal standards of rationality” required by

   the APA. Troy Corp. v. Browner, 120 F.3d 277, 283 (D.C. Cir. 1997). Plaintiffs do not deny that

   “the new policy is permissible under the [INA].” Fox, 556 U.S. at 515. And there are eminently

   “good reasons for it,” id., particularly in view of the litigation risk posed by the proceedings in

   Texas. In the Rescission Policy, the Acting Secretary explained that, “[t]aking into consideration

   the Supreme Court’s and Fifth Circuit’s ruling in the ongoing litigation, and the September 4, 2017

   letter from the Attorney General, it is clear that the June 15, 2012 DACA program should be

   terminated.” Rescission Policy at 5 (AR 255). Specifically, after summarizing the Texas litigation

   and the nationwide injunction against DAPA (and its expansion of DACA), she quoted the

   Attorney General’s conclusion in his letter that because DACA “has the same legal and

   constitutional defects that the courts recognized as to DAPA, it is likely that potentially imminent

   litigation would yield similar results.” Id. at 4 (AR 254). The Acting Secretary thus concluded

   that maintaining the DACA Policy would, in all likelihood, result in another nationwide injunction

   plunging the policy, and its nearly 800,000 recipients, into uncertainty.

          The Acting Secretary was then “faced with two options: wind the program down in an


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   orderly fashion that protects beneficiaries in the near-term while working with Congress to pass

   legislation; or allow the judiciary to potentially shut the program down completely and

   immediately.” DHS, Press Release, Statement from Acting Secretary Duke on the Rescission of

   DACA (Sept. 5, 2017), available at https://go.usa.gov/xncuM. She reasonably opted for an orderly

   rescission, which she considered “the least disruptive option.” Id.

          There is nothing at all irrational about this choice or that explanation. Cf. Chevron U.S.A.

   Inc. v. Echazabal, 536 U.S. 73, 84 (2002) (“regulation reasonable” based on concerns about

   subjecting parties to “possible … liability”). Indeed, it is entirely sensible, given the turmoil that

   an abrupt, court-ordered shutdown would likely have provoked. See Bowman Transp., Inc. v.

   Arkansas-Best Freight System, Inc., 419 U.S. 281, 286 (1974) (APA satisfied where agency’s

   explanation is clear enough that its “path may reasonably be discerned”). The Acting Secretary

   balanced the litigation risk of keeping DACA in place with “the administrative complexities

   associated with ending the program,” and opted for a solution that would “wind it down in an

   efficient and orderly manner” accounting for the interests of DACA recipients. Rescission Policy

   at 4 (AR 254). She reasonably explained her reasonable decision to rescind DACA, and the APA

   requires no more. And no matter whether her (or the Attorney General’s) judgment about the

   likely result of the Texas litigation would have turned out to be correct, it was surely not an

   irrational or arbitrary and capricious conclusion in light of the fact that at least the Fifth Circuit

   and four justices of the Supreme Court had already held that a materially indistinguishable policy

   was unlawful.

          3. Although Plaintiffs acknowledge that the Acting Secretary’s “fear of a hypothetical

   lawsuit” drove her decision, they contend that it was nevertheless arbitrary and capricious because

   she also considered what they assert was the Attorney General’s “legally erroneous conclusion”


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   that DACA was in fact unlawful. See Batalla Vidal Compl. ¶¶ 2, 22; see also New York Compl.

   ¶¶ 83-84; 253-56. That argument suffers from four independent flaws.

          First, the Acting Secretary did not solely, or even primarily, rely on the Attorney General’s

   September 4 letter for its determination that DACA was unlawful. Instead, as discussed above,

   she referred to his litigation-risk determination that it was “likely” that a legal challenge to DACA

   “would yield similar results” as the DAPA litigation under Fifth Circuit precedent. Rescission

   Policy at 4 (AR 254). That independent conclusion, based on a reasonable predictive judgment

   about litigation risk, is a sufficient basis for upholding the Acting Secretary’s decision whether or

   not DACA was actually unlawful. See Bowman, 419 U.S. at 286.

          Second, to the extent the Acting Secretary did rely on the proposition that DACA was

   unlawful, this Court need not agree with that determination to uphold her decision. If an agency’s

   constitutional analysis and policy judgment overlap, courts should presume an independent policy

   judgment to avoid constitutional questions, even if the two determinations are arguably

   “intertwined.” See Syracuse Peace Council v. FCC, 867 F.2d 654, 657–59 (D.C. Cir. 1989) (if

   “even in the absence of constitutional problems the [agency] would have reached the same

   outcome,” “we must end our inquiry without reaching that issue”). Here, the Attorney General

   concluded that DACA was unconstitutional in part because it was an “open-ended” policy that

   closely tracked “proposed legislation” that Congress had repeatedly rejected. Rescission Policy at

   4 (AR 254). But those same concerns equally support a policy judgment by the Acting Secretary

   that “deferred action” should “be applied only on an individualized case-by-case basis” rather than

   used as a tool “to confer certain benefits to illegal aliens that Congress had not otherwise acted to

   provide by law.” Id. at 2 (AR 253). This Court should sustain her decision based on a reasonable

   policy judgment that immigration decisions of this magnitude should be left to Congress.


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          Third, although this Court need not decide the issue to resolve this case in favor of the

   government on the basis that the agency decision was at least rational, the Attorney General’s

   conclusion that DACA was unlawful is strongly supported by the Fifth Circuit’s decision in Texas

   that was affirmed by the Supreme Court. The Fifth Circuit held not only that DAPA—including

   its proposed expansion of DACA—was likely unlawful, but also that DACA bore many “important

   similarities” to it. Texas, 809 F.3d at 174 & n.139 (noting that “the DAPA Memo’s plain language

   … equates the DACA and DAPA procedure[s],” making DACA an “apt comparator”). Indeed,

   given that DAPA was enjoined before its implementation, the Fifth Circuit’s decision was

   “informed by analysis of the implementation of DACA” itself. Id. at 172. On that score, while,

   “[l]ike the DAPA Memo, the DACA Memo instructed agencies to review applications on a case-

   by-case basis,” and thus “facially purport[ed] to confer discretion,” id. at 171–72, the court found

   that discretion to be illusory in practice: Because relatively few DACA requests were denied, the

   Fifth Circuit believed “there was evidence from DACA’s implementation that [this] discretionary

   language was pretextual,” id. at 172–73. Based on these findings by the Fifth Circuit, it would

   follow that DACA, like DAPA, did not “genuinely leave the agency and its employees free to

   exercise discretion” on a case-by-case basis, id. at 176—which supports the Attorney General’s

   conclusion that DACA was unlawful. And it seems likely that at least four Justices of the Supreme

   Court agree.

          Regardless of whether the Office of Legal Counsel was correct when it previously “orally

   advised” that its “preliminary view” was that the proposed version of DACA would be lawful, the

   reasoning in that opinion further confirms the invalidity of DACA as actually implemented in




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   practice as found by the Fifth Circuit. 6 The “preliminary” conclusion was conditioned on the

   proviso that “it was critical that … the DACA program require immigration officials to evaluate

   each application for deferred action on a case-by-case basis.” Id. Yet the Fifth Circuit found that

   DHS officials did not “genuinely” retain such discretion in practice. Texas, 809 F.3d at 176.

   Indeed, because deferred action continues to exist on an individualized basis, the only change made

   by the Acting Secretary is the elimination of the factors that, according to the Fifth Circuit, led to

   the policy being applied without sufficient case-by case discretion. See id. at 172–73 (noting

   testimony that, for DACA, requests were “simply rubberstamped if the applicants meet the

   necessary criteria”). Further, the original DACA program largely shares the relevant defects of

   the proposed expansion of deferred action that OLC rejected, rather than the aspects of the new

   program that it approved.

           In all events, the foregoing analysis confirms that the Acting Secretary’s decision was at a

   minimum reasonable and that Plaintiffs’ APA challenge can be resolved at this stage based on the

   record now before the Court.           Indeed, whatever this Court decides, there is no basis for

   supplementing the record or discovery to assess the Acting Secretary’s explanation.

           B.       The Rescission Policy Is Exempt from Notice and Comment

           Plaintiffs miss the mark in arguing that the Rescission Policy must be set aside because it

   is a substantive rule issued without notice and comment. Batalla Vidal Compl. ¶¶ 144–48 (Count

   1); New York Compl. ¶¶ 257-65 (Count 5); see also 5 U.S.C. § 553(b)–(c). If winding down the

   DACA policy is a “substantive rule,” then a fortiori so was enacting the policy in the first place.

   Critically, though, the DACA Memo itself also was not adopted through notice and comment. So



   6
     U.S. Dep’t of Justice, Office of Legal Counsel, The Department of Homeland Security’s Authority to Prioritize
   Removal of Certain Aliens Unlawfully Present, 38 Op. O.L.C. 1, at 18 n.8 (Nov. 19, 2014) (OLC Op.), available at
   https://www.justice.gov/file/179206/download
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   even on Plaintiffs’ own theory, it would be void ab initio—leaving Plaintiffs without a remedy.

   That is reason enough to dismiss this claim. See Lujan, 504 U.S. at 561 (plaintiff must show

   “injury will be ‘redressed by a favorable decision’” to establish standing). 7

            In any event, Plaintiffs’ claim is erroneous. DHS and INS have adopted over 20 deferred

   action or similar policies over the past 50 years—rarely through notice and comment. That is

   because such policies, like the Rescission Policy, are not substantive rules at all. Rather, they are

   classic examples of “general statements of policy” that are exempt from the APA’s notice-and-

   comment requirements. 5 U.S.C. § 553(b).

            A “substantive rule establishes a standard of conduct which has the force of law.” Pac.

   Gas & Elec. Co. v. FPC, 506 F.2d 33, 38 (D.C. Cir. 1974). Thus, an “agency action that purports

   to impose legally binding obligations or prohibitions on regulated parties—and that would be the

   basis for an enforcement action for violations of those obligations or requirements—is a legislative

   rule.” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 251 (D.C. Cir. 2014).

            A statement of policy, by contrast, “advise[s] the public prospectively of the manner in

   which the agency proposes to exercise a discretionary power.” Chrysler Corp. v. Braun, 441 U.S.

   281, 302 n.31 (1979) (quoting Attorney General’s Manual on the Administrative Procedure Act

   30 n.3 (1947)). It “explains how the agency will enforce a statute or regulation—in other words,

   how it will exercise its broad enforcement discretion or permitting discretion under some extant

   statute or rule.” Id. at 252. It serves to “appris[e] the regulated community of the agency’s


   7
     To be sure, the D.C. Circuit has rejected “the argument that notice and comment requirements do not apply to
   ‘defectively promulgated regulations’” as “untenable because it would permit an agency to circumvent the
   requirements of § 553 merely by confessing that the regulations were defective in some respect and asserting that
   modification or repeal without notice and comment was necessary to correct the situation.” Consumer Energy Council
   v. FERC, 673 F.2d 425, 447 n.79 (D.C. Cir. 1982). That holding, however, concerned the rescission of a rule
   promulgated after notice and comment that was allegedly defective on other grounds, not a rule that was defective
   precisely because it had failed to go through notice and comment in the first place. See id. at 445–46. When an agency
   has already “circumvent[ed] the requirements of § 553,” id. at 447 n.79, there is no reason why it must go those
   procedures to cure the underlying defect.
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   intentions” and “inform[] the exercise of discretion by agents and officers in the field.” Cmty.

   Nutrition Inst. v. Young, 818 F.2d 943, 949 (D.C. Cir. 1987). And “a general statement of policy,

   like a press release,” often “announces the course which the agency intends to follow in future

   adjudications.” Pac. Gas & Elec., 506 F.2d at 38. Accordingly, policy statements “are binding

   on neither the public nor the agency,” and the agency “retains the discretion and the authority to

   change its position … in any specific case.” Syncor Int’l Corp. v. Shalala, 127 F.3d 90, 94 (D.C.

   Cir. 1997) (citations omitted).

          As these principles make clear, the Rescission Policy is a quintessential policy statement—

   a point that its text reinforces again and again. It was issued as an “exercise of [the Secretary’s]

   authority in establishing national immigration policies and priorities.” Rescission Policy at 5 (AR

   255). It explains how the agency intends to exercise its enforcement authority on a prospective

   basis, a matter that is “generally committed to an agency’s absolute discretion.” Chaney, 470 U.S.

   at 831. It does not immediately deprive any DACA recipients of their current deferred action

   status, but describes how pending and future deferred action requests will be “adjudicate[d]—on

   an individual, case-by-case basis.” Rescission Policy at 5 (AR 255). It does not categorically

   forbid the agency from continuing to defer enforcement action against DACA recipients in the

   future, but instead acknowledges the background principle, recognized by Congress and the courts,

   that deferred action is “an act of prosecutorial discretion” that may be exercised “on an

   individualized case-by-case basis,” id. at 2 (AR 253), and that places “no limitations” on the

   agency’s exercise of such “otherwise lawful enforcement … prerogatives,” id. at 6 (AR 256). And

   it explains that it “does not … create any right or benefit, substantive or procedural, enforceable at

   law by any party.” Id. Thus, in the wake of the Rescission Policy, deferred action “remains

   discretionary and reversible,” Arpaio, 797 F.3d at 16—as with the 20-odd deferred action or


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   similar policies that DHS and INS have adopted over the past half-century, generally without going

   through the full notice and comment and process. 8

           That is as it should be. An agency’s enforcement priorities will inevitably shift over time,

   whether due to changing circumstances or resource constraints. See Chaney, 470 U.S. at 831.

   Indeed, the DACA policy was originally adopted in part to set enforcement priorities in view of

   the agency’s limited resources. See Arpaio, 797 F.3d at 16; DACA Memo at 1 (AR 1); DAPA

   Memo at 1 (AR 39). Under Plaintiffs’ theory, however, even if Congress were to vastly increase

   appropriations for immigration enforcement, the agency’s hands would be tied: it would not be

   free to adjust its enforcement priorities without engaging in “cumbersome and time-consuming

   rulemaking proceedings.” Nat’l Ass’n of Regulatory Utility Comm’rs v. U.S. Dep’t of Energy, 851

   F.2d 1424, 1430 (D.C. Cir. 1988). The Court should not endorse such an intrusion into matters

   that have “long been regarded as the exclusive province of the Executive Branch.” Chaney, 470

   U.S. at 832.

           C.       Plaintiffs Fail to State an Equal Protection Claim

           If this Court disagrees with Defendants and concludes that it can review Plaintiffs’ equal

   protection challenges under AADC, but see supra § I.A, B, it nonetheless should dismiss them

   for failure to state a claim. In Armstrong, the Supreme Court considered whether criminal

   defendants could obtain discovery to support a “selective prosecution” claim arising under the

   Equal Protection Clause. 517 U.S. at 463–64. The Court recognized that such claims, like the

   discriminatory motive claim here, “ask[] a court to exercise judicial power over a ‘special



   8
     The Fifth Circuit’s ruling that the adoption of the DAPA Memo required notice and comment does not imply that
   the rescission of DACA does as well. Unlike the DAPA or DACA Memos, the Rescission Policy announced a return
   to an enforcement policy of using deferred action on an individualized basis, which cannot be cast as a substantive
   rule. Indeed, the Fifth Circuit itself stressed that “DAPA is much more than a nonenforcement policy,” and that “a
   traditional nonenforcement policy would not necessarily be subject to notice and comment.” 809 F.3d at 178 n.156.
   In any event, if this Court agrees with the Fifth Circuit, then DACA was void ab initio and Plaintiffs lack a remedy.
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   province’ of the Executive,” specifically, the “constitutional responsibility to ‘take Care that the

   Laws be faithfully executed.’” Id. at 464 (citations omitted). Accordingly, a “presumption of

   regularity supports” such enforcement decisions and, “in the absence of clear evidence to the

   contrary, courts presume that they have properly discharged their official duties.” Id. (citation

   omitted). To “obtain discovery”—or, in the context of civil litigation, to survive a motion to

   dismiss—a claimant alleging discriminatory enforcement thus must satisfy a “rigorous standard”

   requiring him to produce (or at least plausibly allege the existence of) “‘evidence tending to

   show the existence of the essential elements of the defense,’ discriminatory effect and

   discriminatory intent.” Id. at 468 (citation omitted). At a minimum, AADC underscores that

   Plaintiffs must at least meet a heavy burden to survive a motion to dismiss on a claim that

   government actors harbored a hidden discriminatory motive.

          In fact, the only allegations Plaintiffs have made are (1) the fact that most DACA

   recipients are Mexican nationals, New York Compl. ¶¶ 6, 57; and (2) references to statements by

   the President, generally unrelated to DACA, relating to Mexicans, id. ¶¶ 257-72; Batalla Vidal

   Compl. ¶¶ 81–92. Neither overcomes the “significant barrier” to moving forward on a claim of

   this sort. Armstrong, 517 U.S. at 464.

          The fact that more than 78 percent of DACA recipients are Mexican nationals is an

   unsurprising accident of geography, not evidence of discrimination; this raw statistic fails to

   show either discriminatory intent or discriminatory effect. Indeed, in light of the heightened

   deference owed to the political Branches on immigration matters, where sensitive considerations

   of relations and proximity to particular foreign nations necessarily play a role, a court should not

   lightly intrude upon discretionary administration of the immigration laws based on such an

   impact. As to intent, a disparate impact of a facially neutral rule such as the Rescission Policy,


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   standing alone, cannot establish discriminatory intent even in a domestic equal protection setting.

   See Washington v. Davis, 426 U.S. 229, 242 (1976). And in the context of discriminatory-motive

   allegations, even in the domestic setting it is not even enough to suggest discriminatory effect.

   In Armstrong, for example, the Supreme Court refused to allow discovery in support of a

   selective-enforcement claim that was supported by evidence that in every federal drug case

   prosecuted within a single year, all 24 defendants charged with a drug-trafficking offense were

   African-American. Id. at 459. The Court explained that to provide “‘some evidence tending to

   show the existence’ of the discriminatory effect element” necessary for discovery, the claimants

   had “to produce some evidence that similarly situated defendants of other races could have been

   prosecuted, but were not.” Id. at 469. Here, Plaintiffs acknowledge that more than 20% of

   DACA recipients are not Mexican nationals—which, again, is not surprising given that the

   policy draws no distinctions based on race, nationality, or any protected characteristic.

          In Rajah v. Mukasey, 544 F.3d 527 (2d Cir. 2008), the Second Circuit rejected a similar

   discriminatory-enforcement challenge to the removal of individuals required to register under a

   program that facially singled out aliens from certain identified countries. Id. at 433, 439. It

   happened that almost all of the selected countries were “predominantly Muslim,” but the court

   dismissed the contention that that fact alone was evidence that “the Program was motivated by

   an improper animus.” Id. at 439. As it explained, because adherents to other religions “from

   the designated countries were [also] subject to” the policy, there was “no basis for [the aliens’]

   claim.” Id. The same analysis applies here.

          As to the second piece of evidence, the President’s statements—almost all made before

   he took the oath of office and none made in connection with the Rescission Policy—do not tend

   to show the existence of both discriminatory intent and discriminatory effect necessary to state


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   a claim. As a threshold matter, there is no conceivable way that these statements, standing alone,

   tend to show discriminatory effect, and that suffices to end the inquiry.

          In any event, Plaintiffs’ attempt to use these remarks to establish discriminatory intent

   come up short, as they point to nothing that would suggest Acting Secretary Duke—the

   decisionmaker ultimately responsible for the Rescission Policy—chose to wind-down DACA

   due to animus towards Mexican nationals. Given that the statements at issue have no connection

   to either the relevant decision (the rescission of DACA) or the relevant decision-maker (the

   Acting Secretary), adopting Plaintiffs’ theory would mean that any time DHS enforces the

   immigration laws in a way that has a statistically significant disparate impact on Mexican

   nationals, the agency would be subject to intrusive discovery on allegations of a violation of the

   Equal Protection Clause. That would set a dangerous precedent, and it would freeze the

   enforcement discretion of the entire Executive Branch. That ossification would be particularly

   inappropriate in this context, given that immigration enforcement policies must constantly be

   adjusted to account for “[t]he dynamic nature of relations with other countries.” Arizona, 567

   U.S. at 397.

          D.      Plaintiffs Fail to State a Procedural Due Process Claim

          The Batalla Vidal Plaintiffs claim that the Rescission Policy violates procedural due

   process because DACA recipients were not sent “individualized written notices” advising them of

   the October 5, 2017, renewal deadline. Batalla Vidal Compl. ¶ 164. That deadline, they allege,

   conflicts with notices previously sent to some DACA recipients advising that they “submit [a]

   renewal request ‘as soon as possible,’” and to do so “between 150 days and 120 days before the

   expiration” of their DACA status “to avoid a lapse in [their] period of deferred action.” Id. Ex. G

   at 1; see id. ¶¶ 103–05, 160–66. But no Plaintiff alleges that he missed the October 5, 2017,


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   deadline because of this alleged due process violation, and thus none can show that he was actually

   harmed by it, much less that more process would remedy any injury. Plaintiffs thus lack standing

   to raise this claim, and it should be dismissed for that reason alone. See Lujan, 504 U.S. at 561.

          In any event, this claim fails on the merits for the simple reason that DACA recipients have

   no protected liberty or property interest in deferred action entitling them to due process protections.

   The Fifth Amendment provides that “no person shall . . . be deprived of life, liberty, or property,

   without due process of law.” U.S. Const. amend. V. Thus, the “first inquiry in every due process

   challenge is whether the plaintiff has been deprived of a protected interest in ‘property’ or

   ‘liberty.’” Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 59 (1999) (citation omitted). The

   “Due Process Clause does not protect everything that might be described as a ‘benefit.’” Town of

   Castle Rock v. Gonzales, 545 U.S. 748, 756 (2005). Rather, “‘[t]o have a property interest in a

   benefit, a person clearly must have more than an abstract need or desire and more than a unilateral

   expectation of it. He must, instead, have a legitimate claim of entitlement to it.’” Id. (quoting Bd.

   of Regents v. Roth, 408 U.S. 564, 577 (1972)). Such entitlements “are not created by the

   Constitution. Rather, they are created and their dimensions are defined by existing rules or

   understandings that stem from an independent source”—e.g., statutes or regulations—“that secure

   certain benefits and that support claims of entitlement to those benefits.” Roth, 408 U.S. at 577.

          A benefit “is not a protected entitlement” for due process purposes where, as here,

   “government officials may grant or deny it in their discretion.” Castle Rock, 545 U.S. at 756. For

   due process purposes, statutes or regulations limit discretion only when they contain “‘explicitly

   mandatory language’”—i.e., “specific directives to the decisionmaker that if the regulations’

   substantive predicates are present, a particular outcome must follow.” Ky. Dep’t of Corrs. v.

   Thompson, 490 U.S. 454, 462–63 (1989) (citation omitted). The DACA policy contains no such


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   “explicitly mandatory language.” Id. The policy is codified in no statute or regulation. Its

   source—the DACA Memo—describes it as a “policy” for the “exercise of prosecutorial

   discretion.” DACA Memo at 2 (AR 3); see Omar v. McHugh, 646 F.3d 13, 22 (D.C. Cir. 2011)

   (the “use of the word ‘policy’”—“rather than a word such as ‘right’—reinforces the conclusion

   that Congress did not intend to create an ‘entitlement’”). And the agency’s public guidance makes

   clear that, under DACA, deferred action “may be terminated at any time, with or without a Notice

   of Intent to Terminate, at DHS’s discretion.” DACA FAQ No. 27 (cited in New York Compl. Ex.

   14).

           Under DACA, “deferred action remains discretionary and reversible, and ‘confers no

   substantive right, immigration status or pathway to citizenship.’” Arpaio, 797 F.3d at 17 (quoting

   DACA Memo). “Only the Congress, acting through its legislative authority, can confer those

   rights.” DACA Memo at 3 (AR 3). Thus, deferred action is not a protected entitlement for due

   process purposes, and Plaintiffs’ claim fails as a matter of law.           See Velasco-Gutierrez v.

   Crossland, 732 F.2d 792, 798 (10th Cir. 1984) (deferred action guidance “places no effective

   limitations on official discretion, and thus creates no protected liberty interest in deferred action”);

   De Silva v. Smith, 773 F.2d 1021, 1024 (9th Cir. 1985) (because “deferred action . . . vests the

   regional commissioner with unfettered discretion . . . it creates no protectible liberty interest in

   deferred action”).

           E.      Plaintiffs Fail to State a Substantive Due Process Claim

           Taking a different tack, the New York Plaintiffs claim that the Rescission Policy violates

   substantive due process because the agency’s “refusal to prohibit” the use of information in DACA

   applications for enforcement purposes is “fundamentally unfair.” New York Compl. ¶ 243; see id.

   ¶¶ 240-45 (Count 2). The States have no protected due process interest or other judicially


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   cognizable claim concerning information supplied by aliens to the federal government. And,

   indeed, no Plaintiff alleges any harm from the agency’s supposed “refusal” to adopt a blanket ban

   on the use of such information, which would not state a substantive due process claim in any event.

          While Plaintiffs’ theory is a bit unclear, they allege that DHS made “unequivocal”

   assurances that “information provided by a DACA grantee would not be used against him . . . for

   later immigration enforcement proceedings.” Id. ¶ 44. Even if it were true that DHS had made

   such a promise, Plaintiffs stop conspicuously short of alleging that the agency has broken it: No

   Plaintiff plausibly alleges that the agency has in fact used his DACA information for any

   enforcement purpose, much less initiated enforcement proceedings against him as a result, or that

   there is any imminent threat of this occurring (either with respect to any individual plaintiff, or to

   DACA recipients writ large). See id. ¶¶ 240–45; 246–52. That alone deprives them of standing

   to press this claim.

          Moreover, Plaintiffs’ selective quotation of the relevant policy mischaracterizes its content,

   as documents incorporated by reference into the complaint make clear. Contrary to Plaintiffs’

   suggestion that DHS has flatly and completely prohibited the use of DACA information for

   enforcement purposes, the agency’s information-sharing policy in fact contains (and has always

   contained) a number of exceptions. For example, under that policy, information submitted in

   DACA requests “is protected from disclosure to ICE and CBP for the purpose of immigration

   proceedings unless the requestor meets the criteria for the issuance of a Notice to Appear or a

   referral to ICE under the criteria set forth in USCIS’[s] Notice to Appear guidance” (for example,

   when issues of national security, public safety, or significant criminal activity are raised). DHS

   DACA FAQ No. 19 (emphasis added); see Notice to Appear guidance. While this policy “may be

   modified, superseded, or rescinded at any time” and creates no legal rights, DHS DACA FAQ No.


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   19, nothing in the Rescission Policy purports to change it, and it currently remains in effect.

   Plaintiffs, however, repeatedly quote only those portions of the information-sharing policy that

   they find helpful, minimizing or ignoring the exceptions. See, e.g., New York Compl. ¶¶ 239–44.

   The Court should not defer to these facially contradicted allegations, particularly in light of

   Plaintiffs’ failure to allege any cognizable harm. See e.g., Perry v. NYSARC, Inc., 424 F. App’x

   23, 25 (2d Cir. 2011).

          In any event, the state Plaintiffs fail to state a substantive due process claim. Substantive

   due process protects those rights that rank as “fundamental”—that is, both “objectively, deeply

   rooted in this Nation’s history and tradition” and “implicit in the concept of ordered liberty, such

   that neither liberty nor justice would exist if they were sacrificed.” Washington v. Glucksberg,

   521 U.S. 702, 721 (1997). The Supreme Court has also made clear that a plaintiff must provide

   “a ‘careful description’ of the asserted fundamental liberty interest” when raising a such a claim.

   Chavez v. Martinez, 538 U.S. 760, 775–76 (2003). “Vague generalities,” like Plaintiffs’ wish that

   DHS would adopt their preferred policies, “will not suffice.” Id. at 776.

          While in rare cases a “denial of fundamental fairness” may rise to the level of a substantive

   due process violation, to survive dismissal in a “challenge to executive action” such as this one,

   Plaintiffs must allege behavior that is “so egregious” and “outrageous” as “to shock the

   contemporary conscience.” Cty. of Sacramento v. Lewis, 523 U.S. 833, 847 n.8, 850 (1998). That

   scenario arises “largely in the context of excessive force claims,” Velez v. Levy, 401 F.3d 75, 93

   (2d Cir. 2005), and is typically reserved for “malicious and sadistic abuses of government power

   that are intended only to oppress or to cause injury and serve no legitimate government purpose,”

   Johnson v. Newburgh Enlarged Sch. Dist., 239 F.3d 246, 252 (2d Cir. 2001). It does not, by

   contrast, reach “government action that is [merely] incorrect or ill advised,’” Cunney v. Bd. of Trs.


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   of Grand View, 660 F.3d 612, 626 (2d Cir. 2011) (citation omitted), nor does it “forbid

   governmental actions that might fairly be deemed arbitrary or capricious and for that reason

   correctable in a … lawsuit seeking review of administrative action,” Natale v. Town of Ridgefield,

   170 F.3d 258, 263 (2d Cir. 1999).

          Nothing about the Rescission Policy meets this extraordinarily high standard, and certainly

   not with respect to the subject of information sharing. DHS’s information-sharing policy for

   DACA recipient information has always contained a number of exceptions and although the

   policy, in fact, remains unchanged, it has always expressly stated that it “may be modified,

   superseded, or rescinded at any time” and it therefore creates no judicially enforceable rights. DHS

   DACA FAQ No. 19. And, most importantly, the Rescission Policy nowhere purports to alter

   DHS’s information-sharing policy, and even if it did, Plaintiffs were on notice that it could change

   at any time.

          F.      Plaintiffs’ Regulatory Flexibility Act Claim Fails Because Notice-and-
                  Comment Procedures Were Not Required

          Plaintiffs’ Regulatory Flexibility Act (RFA) claim fails for the same reasons as its notice-

   and-comment claim, and it can be quickly dispatched. See Batalla Vidal Compl. ¶¶ 155–59 (Count

   3); New York Compl. ¶¶ 266–73 (Count 6). The RFA’s requirement that an agency publish

   analyses of a rule’s impact on small businesses applies only “‘when an agency promulgates a final

   rule under section 553 of … title [5], after being required by that section or any other law to publish

   a general notice of proposed rulemaking,’” U.S. Telecom Ass’n v. FCC, 400 F.3d 29, 42 (D.C. Cir.

   2005) (quoting 5 U.S.C. § 604(a))—in other words, only where notice-and-comment procedures

   are required. Because those procedures were not required here, see supra § III.B., the RFA does




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   not apply. 9

   III.     NATIONWIDE INJUNCTIVE RELIEF IS IMPERMISSIBLE

            Finally, to the extent this Court ultimately concluded that Plaintiffs were entitled to any

   injunction, it should dismiss the request for nationwide relief. Both constitutional and equitable

   principles require that injunctive relief be limited to redressing a plaintiff’s own cognizable

   injuries. Article III demands that “a plaintiff must demonstrate standing … for each form of relief

   that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (citation

   omitted). “The remedy” sought thus must “be limited to the inadequacy that produced the injury

   in fact that the plaintiff has established.” Lewis v. Casey, 518 U.S. 343, 357 (1996). “The actual-

   injury requirement would hardly serve [its] purpose … of preventing courts from undertaking tasks

   assigned to the political branches[,] if once a plaintiff demonstrated harm from one particular

   inadequacy in government administration, the court were authorized to remedy all inadequacies in

   that administration.” Id. And equitable principles independently require that an injunction “be no

   more burdensome to the defendant than necessary to provide complete relief to the plaintiffs.”

   Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted); see also

   Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 163 (2010) (narrowing injunction in part

   because the plaintiffs “do not represent a class, so they could not seek to enjoin such an order on

   the ground that it might cause harm to other parties”). Accordingly, any injunction here should be

   limited to particular individual Plaintiffs found to have cognizable claims.




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     Plaintiffs also lack standing to raise an RFA claim for an additional reason: They allege no facts to demonstrate that
   they are “small entities” entitled to seek judicial review under the RFA. See 5 U.S.C. § 601(6) (defining “small
   entity”); id. § 611 (restricting judicial review to “a small entity that is adversely affected or aggrieved”); see also, e.g.,
   N.W. Mining Ass’n v. Babbitt, 5 F. Supp. 2d 9, 13 (D.D.C. 1998) (“[T]he language of the RFA extends standing to
   seek judicial review only to a ‘small entity.’”). Plaintiffs’ conclusory assertions on this score, see, e.g., New York
   Compl. ¶ 211-16, 228, 273; Batalla Vidal Compl. ¶¶ 61, 156-57, should not be taken as true on a motion to dismiss.
   See Iqbal, 556 U.S. at 678, 681.
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                                         CONCLUSION

         For the foregoing reasons, the Court should grant Defendants’ motion to dismiss this case.

         Dated: October 27, 2017              Respectfully submitted,

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